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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.



                                     JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated August 31, 2021, the parties in United

States v. Google LLC and State of Colorado v. Google LLC submit the following Joint Status

Report summarizing the state of discovery and identifying any issues between the parties, and

the parties’ respective positions, that will be raised at the status hearing scheduled for September

28, 2021.

I.     Case No. 1:20-cv-03010

       A.      Google’s Discovery of Plaintiffs

       A summary of Google’s First Set of Requests for Production and prior document
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productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports, including

their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No.

131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), and August 27

(ECF No. 191).

       B.      Plaintiffs’ Discovery of Google

       A summary of Plaintiffs’ First and Second Sets of Requests for Production and the

document productions made by Google are set forth in the parties’ earlier Joint Status Reports,

including their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23

(ECF No. 131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), and

August 27 (ECF No. 191). Google produced additional documents in response to Plaintiffs’ First

and Second Requests for Production on September 1, 9, 13, 17, and 21, and Google produced

additional data on September 9, 10, and 17. Plaintiffs served their Fourth Requests for

Production on July 28, Fifth Requests for Production on August 13, and Sixth Requests for

Production on August 20. Google served its responses and objections to the aforementioned

Requests for Production on August 27, September 19, and September 20, respectively.

       Following several meet and confers regarding Plaintiffs’ Rule 30(b)(6) notice dated July

9, 2021, the parties advised the Court on September 9 that the parties had reached impasse on

two issues. In accordance with Court’s Minute Order dated September 12, 2021, Google filed its

opening brief on September 13 (ECF No. 214), Plaintiffs filed their reply brief on September 17

(ECF No. 217), and Google filed its reply brief on September 22 (ECF No. 220). The parties are

prepared to address these issues at the September 28 Status Conference.

       Plaintiffs originally noticed the Rule 30(b)(6) deposition for September 13, and later re-

noticed the deposition for September 30 to accommodate the parties’ meet and confers and

briefing schedule. On September 13, Google identified the two witnesses that it intends to

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designate to testify regarding the topics specified in the notice (subject to Google’s objections

thereto) and informed Plaintiffs that the two witnesses are available on the dates in October that

Google has offered or agreed to in response to Plaintiffs’ Rule 30(b)(1) deposition notices for

those witnesses. The parties dispute whether witnesses should sit separately for Rule 30(b)(1)

and Rule 30(b)(6) depositions and are prepared to address the issue at the September 28 Status

Conference.

       C.      The Parties’ Discovery of Third-Parties

       A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports, including their reports dated February 23 (ECF

No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24

(ECF No. 149), July 27 (ECF No. 165), and August 27 (ECF No. 191). The parties have issued

document subpoenas to approximately 87 third parties in total. The parties anticipate that they

will continue to issue additional document subpoenas as discovery progresses.

II.    Case No. 1:20-cv-03715

            A. Google’s Discovery of Plaintiff States

       A summary of Google’s First Set of Requests for Production and the document

productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports,

including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), and August 27 (ECF No. 191).

            B. Plaintiff States’ Discovery of Google

       A summary of Plaintiff States’ First Set of Requests for Production and the parties’ meet

and confer discussions are set forth in the parties’ earlier Joint Status Reports, including their

reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24



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(ECF No. 149), July 27 (ECF No. 165), and August 27 (ECF No. 191). Google has continued to

produce to Plaintiff States the documents and data produced to the U.S. Department of Justice

and its co-plaintiffs in Case No. 1:20-cv-03010. Since the last status conference, Google

indicated that it has substantially completed its production of documents in response to Plaintiff

States’ First Set of Requests for Production.

       On September 23, 2021 Plaintiff States served their Second Set of Requests for

Production (“Second RFPs”) on Google. Google’s deadline to respond to Plaintiff States’

Second RFPs is October 25, 2021.

       On September 15, 2021, Plaintiff States and Google filed a Joint Status Report (ECF No.

216) updating the Court on the status of issues related to Plaintiff States’ 30(b)(6) data deposition

notice. The deposition occurred on September 24. With respect to the data sample described in

the July 27 Joint Status Report (ECF No. 165), Google produced the sample from the later period

on August 31 and informed Plaintiff States on September 17 that it has completed reconstruction

of the sample from the earlier period, but has not yet produced that data. Google offered to make

this data available via Cloud-transfer. Plaintiff States declined that offer because of logistical

issues. Google is now proceeding with a hard drive production.

       Pursuant to the Court’s Minute Order dated September 12, 2021, Google, on September

13, 2021, filed a Motion for Protective Order related to Plaintiffs’ July 9, 2021 Rule 30(b)(6)

deposition notice (ECF No. 214). On September 17, 2021 Plaintiffs filed an opposition to

Google’s Motion (ECF No. 217). Google filed its reply in support of its Motion for Protective

Order on September 22, 2021 (ECF No. 220). Google’s Motion for Protective Order is now

fully briefed before the Court.




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           C. The Parties’ Discovery of Third Parties

       The parties have issued document subpoenas to approximately 88 third parties. All third

parties that have received a subpoena from Plaintiff States have received a cross-subpoena from

Google. Similarly, all third parties that have received a subpoena from Google have received a

cross-subpoena from Plaintiff States. Both parties anticipate that they will continue to issue

additional document subpoenas as discovery progresses.



Dated: September 24, 2021                      Respectfully submitted,


                                               By: /s/ Kenneth M. Dintzer
                                               Kenneth M. Dintzer
                                               Jeremy M. P. Goldstein
                                               U.S. Department of Justice, Antitrust Division
                                               Technology & Digital Platforms Section
                                               450 Fifth Street NW, Suite 7100
                                               Washington, DC 20530
                                               Kenneth.Dintzer2@usdoj.gov
                                               Counsel for Plaintiff United States

                                               By:     /s/ Jonathan R. Carter
                                               Leslie Rutledge, Attorney General
                                               Johnathan R. Carter, Assistant Attorney General
                                               Office of the Attorney General, State of Arkansas
                                               323 Center Street, Suite 200
                                               Little Rock, Arkansas 72201
                                               Johnathan.Carter@arkansasag.gov

                                               Counsel for Plaintiff State of Arkansas




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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 6 of 19




                             By:     /s/ Adam Miller
                             Rob Bonta, Attorney General
                             Ryan J. McCauley, Deputy Attorney General
                             Adam Miller, Deputy Attorney General
                             Paula Blizzard, Supervising Deputy Attorney
                             General
                             Kathleen Foote, Senior Assistant Attorney General
                             Office of the Attorney General,
                             California Department of Justice
                             455 Golden Gate Avenue
                             Suite 11000
                             San Francisco, CA 94102
                             Adam.Miller@doj.ca.gov
                             Counsel for Plaintiff State of California

                             By:     /s/ Lee Istrail
                             Ashley Moody, Attorney General
                             R. Scott Palmer, Interim Co-Director, Antitrust
                             Division
                             Nicholas D. Niemiec, Assistant Attorney General
                             Lee Istrail, Assistant Attorney General
                             Office of the Attorney General, State of Florida
                             PL-01 The Capitol
                             Tallahassee, Florida 32399
                             Lee.Istrail@myfloridalegal.com
                             Scott.Palmer@myfloridalegal.com
                             Counsel for Plaintiff State of Florida

                             By:     /s/ Daniel Walsh
                             Christopher Carr, Attorney General
                             Margaret Eckrote, Deputy Attorney General
                             Daniel Walsh, Senior Assistant Attorney General
                             Dale Margolin Cecka, Assistant Attorney General
                             Office of the Attorney General, State of Georgia
                             40 Capitol Square, SW
                             Atlanta, Georgia 30334-1300
                             dcecka@law.georgia.gov
                             Counsel for Plaintiff State of Georgia




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                             By:     /s/ Scott L. Barnhart
                             Theodore Edward Rokita, Attorney General Scott
                             L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Erica Sullivan, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Scott.Barnhart@atg.in.gov
                             Counsel for Plaintiff State of Indiana

                             By:     /s/ Philip R. Heleringer
                             Daniel Cameron, Attorney General
                             J. Christian Lewis, Executive Director of
                             Consumer Protection
                             Philip R. Heleringer, Deputy Executive Director of
                             Consumer Protection
                             Jonathan E. Farmer, Assistant Attorney General
                             Office of the Attorney General, Commonwealth of
                             Kentucky
                             1024 Capital Center Drive, Suite 200
                             Frankfort, Kentucky 40601
                             Phone: 502-696-5647
                             philip.heleringer@ky.gov

                             Counsel for Plaintiff Commonwealth of Kentucky

                             By:     /s/ Stacie L. Deblieux
                             Jeff Landry, Attorney General
                             Stacie L. Deblieux, Assistant Attorney General
                             Office of the Attorney General, State of Louisiana
                             Public Protection Division
                             1885 North Third St.
                             Baton Rouge, Louisiana 70802
                             Deblieuxs@ag.louisiana.gov
                             Counsel for Plaintiff State of Louisiana




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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 8 of 19




                             By:     /s/ Scott Mertens
                             Dana Nessel, Attorney General
                             Scott Mertens, Assistant Attorney General
                             Michigan Department of Attorney General
                             P.O. Box 30736
                             Lasing, MI 48909
                             MertensS@michigan.gov
                             Counsel for Plaintiff State of Michigan

                             By:     /s/ Stephen Hoeplinger
                             Stephen M. Hoeplinger
                             Assistant Attorney General
                             Missouri Attorney General’s Office
                             615 E. 13th Street, Suite 401
                             Kansas City, MO 64106
                             Stephen.Hoeplinger@ago.mo.gov
                             Counsel for Plaintiff State of Missouri

                             By:     /s/ Hart Martin
                             Lynn Fitch, Attorney General
                             Hart Martin, Special Assistant Attorney General
                             Crystal Utley Secoy, Assistant Attorney General
                             Office of the Attorney General, State of
                             Mississippi
                             P.O. Box 220
                             Jackson, Mississippi 39205
                             Hart.Martin@ago.ms.gov
                             Counsel for Plaintiff State of Mississippi

                             By:     /s/ Mark Mattioli
                             Austin Knudsen, Attorney General
                             Mark Mattioli, Chief, Office of Consumer
                             Protection
                             Office of the Attorney General, State of Montana
                             P.O. Box 200151
                             555 Fuller Avenue, 2nd Floor
                             Helena, MT 59620-0151
                             mmattioli@mt.gov
                             Counsel for Plaintiff State of Montana




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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 9 of 19




                             By:     /s/ Rebecca M. Hartner
                             Rebecca M. Hartner, Assistant Attorney General
                             Alan Wilson, Attorney General
                             W. Jeffrey Young, Chief Deputy Attorney General
                             C. Havird Jones, Jr., Senior Assistant Deputy
                             Attorney General
                             Mary Frances Jowers, Assistant Deputy Attorney
                             General
                             Office of the Attorney General, State of South
                             Carolina
                             1000 Assembly Street
                             Rembert C. Dennis Building
                             P.O. Box 11549
                             Columbia, South Carolina 29211-1549
                             RHartner@scag.gov
                             Counsel for Plaintiff State of South Carolina

                             By:     /s/ Bret Fulkerson
                             Bret Fulkerson
                             Office of the Attorney General, Antitrust Division
                             300 West 15th Street
                             Austin, Texas 78701
                             Bret.Fulkerson@oag.texas.gov
                             Counsel for Plaintiff State of Texas

                             By:    /s/ Gwendolyn J. Lindsay Cooley
                             Joshua L. Kaul, Attorney General
                             Gwendolyn J. Lindsay Cooley, Assistant Attorney
                             General
                             Wisconsin Department of Justice
                             17 W. Main St.
                             Madison, WI 53701
                             Gwendolyn.Cooley@Wisconsin.gov
                             Counsel for Plaintiff State of Wisconsin




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                             By:     /s/ Jonathan B. Sallet
                             Jonathan B. Sallet, Special Assistant Attorney
                             General (D.C. Bar No. 336198)
                             Steven Kaufmann, Deputy Attorney General (D.C.
                             Bar No. 1022365 inactive)
                             Diane R. Hazel, First Assistant Attorney General
                             (D.C. Bar No. 1011531 inactive)
                             Colorado Office of the Attorney General
                             1300 Broadway, 7th Floor
                             Denver, CO 80203
                             Tel: 720-508-6000
                             Jon.Sallet@coag.gov
                             Steve.Kaufmann@coag.gov
                             Diane.Hazel@coag.gov
                             Counsel for Plaintiff Colorado

                             Joseph Conrad
                             Office of the Attorney General of Nebraska
                             Consumer Protection Division
                             2115 State Capitol Building
                             Lincoln, NE 68509
                             402-471-3840
                             joseph.conrad@nebraska.gov
                             Counsel for Plaintiff Nebraska

                             Brunn W. (Beau) Roysden III, Solicitor General
                             Michael S. Catlett, Deputy Solicitor General
                             Dana R. Vogel, Unit Chief Counsel
                             Christopher M. Sloot, Assistant Attorney General
                             Arizona Office of the Attorney General
                             2005 North Central Avenue
                             Phoenix, Arizona 85004
                             Tel: (602) 542-3725
                             Dana.Vogel@azag.gov
                             Counsel for Plaintiff Arizona

                             Max Merrick Miller
                             Attorney General’s Office for the State of Iowa
                             1305 East Walnut Street, 2nd Floor
                             Des Moines, IA 50319
                             (515) 281-5926
                             Max.Miller@ag.Iowa.gov
                             Counsel for Plaintiff Iowa



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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 11 of 19




                             Elinor R. Hoffmann
                             John D. Castiglione
                             Morgan J. Feder
                             Office of the Attorney General of New York
                             28 Liberty Street, 21st Floor
                             New York, NY 10005
                             212-416-8513
                             elinor.hoffmann@ag.ny.gov
                             john.castiglione@ag.ny.gov
                             morgan.feder@ag.ny.gov
                             Counsel for Plaintiff New York

                             Jonathan R. Marx
                             Jessica Vance Sutton
                             North Carolina Department of Justice
                             114 W. Edenton St.
                             Raleigh, NC 27603
                             919-716-6000
                             Jmarx@Ncdoj.Gov
                             jsutton2@ncdoj.gov
                             Counsel for Plaintiff North Carolina

                             J. David McDowell
                             Jeanette Pascale
                             Christopher Dunbar
                             Office of The Attorney General & Reporter P.O.
                             Box 20207
                             Nashville, TN 37202
                             615-741-3519
                             david.mcdowell@ag.tn.gov
                             jenna.pascale@ag.tn.gov
                             chris.dunbar@ag.tn.gov
                             Counsel for Plaintiff Tennessee

                             Tara Pincock
                             Attorney General's Office Utah
                             160 E 300 S, Ste 5th Floor
                             PO Box 140874
                             Salt Lake City, UT 84114
                             801-366-0305
                             tpincock@agutah.gov
                             Counsel for Plaintiff Utah




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                             Jeff Pickett
                             Senior Assistant Attorney General
                             jeff.pickett@alaska.gov
                             State of Alaska, Department of Law
                             Office of the Attorney General
                             1031 W. Fourth Avenue, Suite 200
                             Anchorage, Alaska 99501
                             Tel: (907) 269-5100
                             Counsel for Plaintiff Alaska

                             Nicole Demers
                             State of Connecticut Office of the Attorney
                             General
                             165 Capitol Avenue, Ste 5000
                             Hartford, CT 06106
                             860-808-5202
                             nicole.demers@ct.gov
                             Counsel for Plaintiff Connecticut

                             Michael Andrew Undorf
                             Delaware Department of Justice
                             Fraud and Consumer Protection Division
                             820 N. French St., 5th Floor
                             Wilmington, DE 19801
                             302-577-8924
                             michael.undorf@delaware.gov
                             Counsel for Plaintiff Delaware

                             Catherine A. Jackson (D.C. Bar No. 1005415)
                             Elizabeth Gentry Arthur
                             David Brunfeld
                             Office of the Attorney General for the District of
                             Columbia
                             400 6th Street NW
                             Washington, DC 20001
                             202-724-6514
                             catherine.jackson@dc.gov
                             elizabeth.arthur@dc.gov
                             david.brunfeld@dc.gov
                             Counsel for Plaintiff District of Columbia




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                             Leevin Taitano Camacho, Attorney General
                             Fred Nishihira, Chief, Consumer Protection
                             Division
                             Benjamin Bernard Paholke, Assistant Attorney
                             General
                             Office of the Attorney General of Guam
                             590 S. Marine Corps Drive, Suite 901
                             Tamuning, Guam 96913
                             Tel: (671)-475-3324
                             bpaholke@oagguam.org
                             Counsel for Plaintiff Guam

                             Rodney I. Kimura
                             Office of the Attorney General of Hawaii
                             Commerce & Economic Development
                             425 Queen Street
                             Honolulu, HI 96813
                             808-586-1180
                             rodney.i.kimura@hawaii.gov
                             Counsel for Plaintiff Hawaii

                             Brett DeLange
                             Office of the Idaho Attorney General
                             Consumer Protection Division
                             954 W. State St., 2nd Fl.
                             PO Box 83720
                             Boise, ID 83720-0010
                             208-334-4114
                             brett.delange@ag.idaho.gov
                             Counsel for Plaintiff Idaho

                             Erin L. Shencopp
                             Blake Harrop
                             Joseph Chervin
                             Office of the Attorney General of Illinois
                             100 W. Randolph St.
                             Chicago, IL 60601
                             312-793-3891
                             eshencopp@atg.state.il.us
                             bharrop@atg.state.il.us
                             jchervin@atg.state.il.us
                             Counsel for Plaintiff Illinois




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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 14 of 19




                             Lynette R. Bakker
                             Office of the Attorney General of Kansas
                             Consumer Protection & Antitrust
                             120 S.W. 10th Avenue, Ste 2nd Floor
                             Topeka, KS 66612-1597
                             785-368-8451
                             lynette.bakker@ag.ks.gov
                             Counsel for Plaintiff Kansas

                             Christina M. Moylan
                             Office of the Attorney General of Maine
                             6 State House Station
                             Augusta, ME 04333-0006
                             207-626-8838
                             christina.moylan@maine.gov
                             Counsel for Plaintiff Maine

                             Schonette J. Walker
                             Assistant Attorney General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             swalker@oag.state.md.us
                             Gary Honick
                             Assistant Attorney General
                             Office of the Attorney General
                             200 St. Paul Place, 19th Floor
                             Baltimore, MD 21202
                             410-576-6480
                             ghonick@oag.state.md.us
                             Counsel for Plaintiff Maryland




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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 15 of 19




                             Matthew B. Frank, Assistant Attorney General
                             Antitrust Division
                             William T. Matlack, Assistant Attorney General
                             Chief, Antitrust Division
                             Michael B. MacKenzie, Assistant Attorney
                             General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             One Ashburton Place, 18th Fl.
                             Boston, MA 02108
                             Tel: (617) 727-2200
                             Matthew.Frank@mass.gov
                             William.Matlack@mass.gov
                             Michael.Mackenzie@mass.gov
                             Counsel for Plaintiff Massachusetts

                             Justin Moor, Assistant Attorney General
                             445 Minnesota Street, Suite 1400
                             St. Paul, Minnesota 55101-2130
                             (651) 757-1060
                             justin.moor@ag.state.mn.us
                             Counsel for Plaintiff Minnesota

                             Marie W.L. Martin
                             Michelle Christine Newman
                             Lucas J. Tucker
                             Nevada Office of the Attorney General
                             Bureau of Consumer Protection
                             100 N. Carson Street
                             Carson City, NV 89701
                             775-624-1244
                             mwmartin@ag.nv.gov
                             mnewman@ag.nv.gov
                             ltucker@ag.nv.gov
                             Counsel for Plaintiff Nevada

                             Brandon Garod
                             Office of Attorney General of New Hampshire
                             33 Capitol Street
                             Concord, NH 03301
                             603-271-1217
                             brandon.h.garod@doj.nh.gov
                             Counsel for Plaintiff New Hampshire



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                             Robert Holup
                             New Jersey Attorney General's Office
                             124 Halsey Street, 5th Floor
                             Newark, NJ 07102
                             239-822-6123
                             robert.holup@law.njoag.gov
                             Counsel for Plaintiff New Jersey

                             Mark F. Swanson
                             Cholla Khoury
                             New Mexico Office of the Attorney General
                             408 Galisteo St.
                             Santa Fe, NM 87504
                             Tel: 505.490.4885
                             mswanson@nmag.gov
                             ckhoury@nmag.gov
                             Counsel for Plaintiff New Mexico

                             Parrell D. Grossman
                             Director
                             Elin S. Alm
                             Assistant Attorney General
                             Consumer Protection & Antitrust Division
                             Office of the Attorney General
                             1050 E. Interstate Ave., Suite 200
                             Bismarck, ND 58503
                             701-328-5570
                             pgrossman@nd.gov
                             ealm@nd.gov
                             Counsel for Plaintiff North Dakota

                             Beth Ann Finnerty
                             Mark Kittel
                             Jennifer Pratt
                             Office of The Attorney General of Ohio, Antitrust
                             Section
                             30 E Broad Street, 26th Floor
                             Columbus, OH 43215
                             614-466-4328
                             beth.finnerty@ohioattorneygeneral.gov
                             mark.kittel@ohioattorneygeneral.gov
                             jennifer.pratt@ohioattorneygeneral.gov
                             Counsel for Plaintiff Ohio



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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 17 of 19




                             Caleb J. Smith Assistant Attorney General
                             Consumer Protection Unit
                             Office of the Oklahoma Attorney General
                             313 NE 21st St
                             Oklahoma City, OK 73105
                             Tel: (405) 522-1014
                             Caleb.Smith@oag.ok.gov
                             Counsel for Plaintiff Oklahoma

                             Cheryl Hiemstra
                             Oregon Department of Justice
                             1162 Court St NE
                             Salem, OR 97301
                             503-934-4400
                             cheryl.hiemstra@doj.state.or.us
                             Counsel for Plaintiff Oregon

                             Tracy W. Wertz
                             Joseph S. Betsko
                             Pennsylvania Office of Attorney General
                             Strawberry Square
                             Harrisburg, PA 17120
                             Tel: (717) 787-4530
                             jbetsko@attorneygeneral.gov
                             twertz@attorneygeneral.gov
                             Counsel for Plaintiff Pennsylvania

                             Johan M. Rosa Rodríguez
                             Assistant Attorney General Antitrust Division
                             Puerto Rico Department of Justice
                             PO Box 9020192
                             San Juan, Puerto Rico 00902-0192
                             Tel: (787) 721-2900, ext. 1201
                             jorosa@justicia.pr.gov
                             Counsel for Plaintiff Puerto Rico

                             David Marzilli
                             Rhode Island Office of the Attorney General
                             150 South Main Street
                             Providence, RI 02903
                             Tel: (401) 274-4400
                             dmarzilli@riag.ri.gov
                             Counsel for Plaintiff Rhode Island



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Case 1:20-cv-03010-APM Document 223 Filed 09/24/21 Page 18 of 19




                             Yvette K. Lafrentz
                             Office of The Attorney General of South Dakota
                             1302 E. Hwy 14, Suite1
                             Pierre, SD 57501
                             605-773-3215
                             yvette.lafrentz@state.sd.us
                             Counsel for Plaintiff South Dakota

                             Ryan G. Kriger
                             Office of The Attorney General of Vermont
                             109 State St.
                             Montpelier, VT 05609
                             802-828-3170
                             ryan.kriger@vermont.gov
                             Counsel for Plaintiff Vermont

                             Sarah Oxenham Allen
                             Tyler Timothy Henry
                             Office of the Attorney General of Virginia
                             Antitrust Unit/Consumer Protection Section
                             202 N. 9th Street
                             Richmond, VA 23219
                             804-786-6557
                             soallen@oag.state.va.us
                             thenry@oag.state.va.us
                             Counsel for Plaintiff Virginia

                             Amy Hanson
                             Washington State Attorney General
                             800 Fifth Avenue, Suite 2000
                             Seattle, WA 98104
                             206-464-5419
                             amy.hanson@atg.wa.gov
                             Counsel for Plaintiff Washington

                             Douglas Lee Davis
                             Tanya L. Godfrey
                             Office of Attorney General, State of West Virginia
                             P.O. Box 1789
                             812 Quarrier Street, 1st Floor
                             Charleston, WV 25326
                             304-558-8986
                             doug.davis@wvago.gov
                             tanya.l.godfrey@wvago.gov
                             Counsel for Plaintiff West Virginia

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                             Benjamin Mark Burningham
                             Amy Pauli
                             Wyoming Attorney General's Office
                             2320 Capitol Avenue
                             Kendrick Building
                             Cheyenne, WY 82002
                             (307) 777-6397
                             ben.burningham@wyo.gov
                             amy.pauli@wyo.gov
                             Counsel for Plaintiff Wyoming

                              By: /s/ John E. Schmidtlein
                              John E. Schmidtlein (D.C. Bar No. 441261)
                              Benjamin M. Greenblum (D.C. Bar No. 979786)
                              Colette T. Connor (D.C. Bar No. 991533)
                              Williams & Connolly LLP
                              725 12th Street, NW
                              Washington, DC 20005
                              Tel: 202-434-5000
                              jschmidtlein@wc.com
                              bgreenblum@wc.com
                              cconnor@wc.com

                              Susan A. Creighton (D.C. Bar No. 978486)
                              Franklin M. Rubinstein (D.C. Bar No. 476674)
                              Wilson Sonsini Goodrich & Rosati P.C.
                              1700 K St, NW
                              Washington, DC 20006
                              Tel: 202-973-8800
                              screighton@wsgr.com
                              frubinstein@wsgr.com

                              Mark S. Popofsky (D.C. Bar No. 454213)
                              Ropes & Gray LLP
                              2099 Pennsylvania Avenue, NW
                              Washington, DC 20006
                              Tel: 202-508-4624
                              Mark.Popofsky@ropesgray.com

                              Counsel for Defendant Google LLC




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